Entered: June 15th, 2018
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Signed: June 14th, 2018

SO ORDERED

                                                               




                           IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND
                                           at Baltimore
         IN RE:                               *
                                              *
         Tiffany N. Wylie,                    *     Case No.: 17-13770 MMH
                                              *     Chapter 7
                             Debtor.          *
         *      *     *      *      *   *     *     *     *      *      *  *                             *
                ORDER ADDRESSING MOTION TO CONTEST INELIGIBILITY FOR DISCHARGE

                   The above-captioned matter was commenced by the filing of a voluntary petition under chapter 13

         of the Bankruptcy Code on March 17, 2017 [ECF 1], and was subsequently converted to a case under

         chapter 7 on April 25, 2018 [ECF 27]. This matter was brought to the Court’s attention by a Motion for

         Miscellaneous Relief [ECF 37] filed by the Debtor contesting the Notice that Debtor is Ineligible for

         Discharge [ECF 30]. Pursuant to 11 U.S.C. § 727(a)(8), the Court shall not grant a discharge if the

         Debtor has received a discharge in a case filed under chapter 7, 11, 12, or 13 within the period of time

         specified under the Bankruptcy Code. The relevant time period here is “8 years before the date of the

         filing of the petition” in this case. 11 U.S.C. § 727(c)(8).

                   The Debtor was granted a discharge in her previous chapter 7 case, Case No. 10-14810, which

         was commenced on March 8, 2010. The 8 year period referenced above begins to run as of the date that

         the first case is commenced, and ends as of the date that the subsequent case is filed. As such, the
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relevant dates in this matter are March 8, 2010 and March 17, 2017. The conversion of the Debtor’s

second case to one under Chapter 7 of the Bankruptcy Code on April 25, 2018 does not effect a change

in the date of the filing of the second case. In re Capers, 347 B.R. 169, 171-72 (Bankr. D.S.C. 2006).

Accordingly, it is, by the United Stated Bankruptcy Court for the District of Maryland

          ORDERED, that the Debtor shall have 14 days from the date of this Order to file a Motion

or a Request for a Hearing to demonstrate her eligibility for a discharge based on the appropriate

calculation rules under 11 U.S.C. § 727(a)(8); and it is further

          ORDERED, that if the Debtor does not file a timely Motion or Request for a Hearing, the

Court may deny the Motion for Miscellaneous Relief [ECF 37] without further Notice or Order of

this Court.

cc:       Debtor
          Debtor’s counsel
          Trustee
          U.S. Trustee
                                          END OF ORDER

(kgoodwin).




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